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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 Dr. Yolande Saab,
                                 Plaintiff,

                     -against-                                        25-CV-692 (AS)

 Lebanese American University et al.,                                     ORDER
                                 Defendants.



ARUN SUBRAMANIAN, United States District Judge:

        The Court held a remote conference on February 20, 2025 at which the parties agreed to
meet and confer on the possibility of streamlining the case and resolving any potential service
issues. By March 14, 2025, the parties should file a joint letter updating the Court on the results
of that meet and confer process.

       SO ORDERED.

Dated: March 12, 2025
       New York, New York



                                                                ARUN SUBRAMANIAN
                                                                United States District Judge
